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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


Malibu Media, LLC,

       Plaintiff,

v.                                           Case No. 17-10432

Chrissy North, et al.,                       Sean F. Cox
                                             United States District Court Judge
      Defendants.
______________________________/

                                    ORDER ADOPTING
                         8/3/18 REPORT AND RECOMMENDATION

       Plaintiff filed this action on February 10, 2017. The matter was referred to Magistrate

Judge Steven R. Whalen for determination of all non-dispositive motions pursuant to 28 U.S.C. §

636(b)(1) and Report and Recommendation pursuant to § 636(b)(1)(B) and (C).

       On August 3, 2018, the magistrate judge issued a Report and Recommendation (“R&R”)

(Docket Entry No. 13) wherein he recommends: 1) that the Court grant Plaintiff’s motion

seeking a default judgment against Defendant Chrissy North; 2) that the Court award Plaintiff

statutory damages in the amount of $1,000.00 for each of the 13 copyrighted works, for a total

default judgment of $13,000.00; 3) that Defendant Chrissy North, and those working in active

concert or participation with her, be permanently enjoined from continuing to infringe Plaintiff’s

copyrighted works; and 4) that Defendant Chrissy North be ordered to delete and permanently

remove any fringing copies of Plaintiff’s works under Defendant’s possession, custody, or

control.

       Pursuant to FED. R. CIV. P. 72(b), a party objecting to the recommended disposition of a

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matter by a Magistrate Judge must filed objections to the R&R within fourteen (14) days after

being served with a copy of the R&R. “The district judge to whom the case is assigned shall

make a de novo determination upon the record, or after additional evidence, of any portion of the

magistrate judge’s disposition to which specific written objection has been made.” Id.

       The time for filing objections to the R&R has expired and the docket reflects that neither

party has filed objections to the R&R. The Court hereby ADOPTS the August 3, 2018 R&R and

ORDERS that Plaintiff’s motion for default judgment as to Defendant Chrissy North is

GRANTED and a Default Judgment shall be issued.

       IT IS SO ORDERED.

                                            s/Sean F. Cox
                                            Sean F. Cox
                                            United States District Judge

Dated: September 5, 2018

I hereby certify that a copy of the foregoing document was served upon counsel of record on
September 5, 2018, by electronic and/or ordinary mail.

                             s/Jennifer McCoy
                             Case Manager




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